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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

      vs.                   CASE NO. 4:11cr00209-22 JMM

DONNIE MITCHELL
USMS #26545-009




                       AMENDED JUDGMENT & COMMITMENT

      Due to a clerical error, the judgment and commitment entered in this case on March

6, 2013 (DE #774), is amended to indicate the correct United States Marshal Number as

26545-009.

  Special Condition One of supervised release is also amended to indicate the cost of the

electronic home monitor will be paid by the defendant’s family, as stated on record.

      The remaining portions of the Judgment will remain in full force and effect.

      The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

      IT IS SO ORDERED this 11th day of March, 2013.




                                                 UNITED STATES DISTRICT JUDGE




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